
Madden, Judge,
dissenting in part:
I am not in agreement with the opinion of the court on the question of the sliding scale of sharing of the profits made by the operators of the ships. The Commission had the power to set charter rates as high as it pleased. Instead of setting them at, e.g., 25 percent flat, instead of 15 percent flat, it adopted a fairer method, that is, of adding to the flat 15 *213percent, an additional bire if but only if the operation proved exceptionally profitable. The operator was thus relieved of the danger of having to pay a high flat rate which the operation might not justify. The fact that this sliding scale was added on to the statutorily required 50 percent excess profit rate does not seem to me to be important, nor does the fact that the justification of it may have been an afterthought.
